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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NOS. 9:19-CV-81350-ROSENBERG
                             AND 9:15-CR-80077-ROSENBERG


  MARVIN LESTER, III,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ____________________________/

                      ORDER ADOPTING MAGISTRATE JUDGE’S
                    REPORT AND RECOMMENDATION, DISMISSING
                  MOTION TO VACATE SENTENCE, AND CLOSING CASE

         This matter is before the Court upon Plaintiff’s Motion to Vacate, Set Aside, or Correct

  Sentence under 28 U.S.C. § 2255, filed at DE 1 under Case No. 9:19-CV-81350 and at DE 369

  under Case No. 9:15-CR-80077. The Court previously referred the Motion to Magistrate Judge

  Lisette M. Reid for a Report and Recommendation on any dispositive issues. On August 21,

  2020, Judge Reid issued a Report and Recommendation in which she recommended that the

  Motion be dismissed as untimely. DE 9 under Case No. 9:19-CV-81350.

         Plaintiff filed Objections to the Report and Recommendation. DE 10 under Case No.

  9:19-CV-81350.      The Court has reviewed Plaintiff’s Motion, the Government’s Response

  thereto, Plaintiff’s Reply, the Report and Recommendation, Plaintiff’s Objections, and the record

  and is otherwise fully advised in the premises.      The Court agrees with the analysis and

  conclusions in the Report and Recommendation and finds Judge Reid’s recommendation to be

  well reasoned and correct.
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           Accordingly, it is ORDERED AND ADJUDGED as follows:

      1. Magistrate Judge Reid’s Report and Recommendation [DE 9 under Case No. 9:19-CV-

           81350] is ADOPTED as the Order of the Court.1

      2. Plaintiff’s Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. § 2255

           [DE 1 under Case No. 9:19-CV-81350; DE 369 under Case No. 9:15-CR-80077] is

           DISMISSED AS UNTIMELY.

      3. A certificate of appealability SHALL NOT ISSUE.

      4. The Clerk of the Court is instructed to CLOSE Case No. 9:19-CV-81350. All deadlines

           are TERMINATED, all hearings are CANCELLED, and all motions are DENIED AS

           MOOT.

           DONE AND ORDERED in Chambers, West Palm Beach, Florida, this 17th day of

  September, 2020.

                                                                  _______________________________
                                                                  ROBIN L. ROSENBERG
                                                                  UNITED STATES DISTRICT JUDGE
  Copies furnished to:
  Plaintiff
  Counsel of Record




  1
    The Court makes one correction to the Report and Recommendation. On pages 3 and 4, the Report and
  Recommendation reflects that Plaintiff’s Motion was delivered to prison authorities for mailing on October 3, 2019.
  The signature page of Plaintiff’s Motion reflects that it was instead delivered for mailing on September 23, 2019. It
  appears that October 3 was the date that the Court received the mailing. In any event, Plaintiff’s filing of the Motion
  on September 23, rather than on October 3, does not impact the Court’s analysis or its conclusion that the Motion
  was untimely.
                                                            2
